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                                                                     No.18‐ 1552C
                                                              (Filed:Ⅳ Iarch 8,2019)

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      DOROTHY CATO and CHRISTOPHER                                           彙


      CATO,                                                                  士

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                                 Plaintiffs,
                                                                             彙

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                                 V.
                                                                             士


      THE UNITED STATES,                                                     士

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                                                                             士
                                 Defendant.
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                                                           ORDER OF DISPIIISSAL


     WILLIAMS, Senior Judge.
             This matter comes before the Court on Defendant's motion to dismiss. For the reasons
     stated below, Defendant's motion is granted.

                                                                    Backgroundl

             Plaintiffs pro se Dorothy and Christopher Cato are residents of the state of Texas.
     Plaintiffs' handwritten complaint is difficult to understand, but Plaintiffs appear to allege that they
     have not been paid a $1,282,000 award resulting from a default judgment entered in their favor in
     the District Court of Harris County, Texas on December 5,2001. Compl. 1,4-6. Plaintiffs request
     that this Court assist them in recovering their default judgment plus interest, stating that they bring
     this complaint "to the Federal Court for Restitution . . ., with Interest of ITYo Annually as Stated
     in the Original Default Judgment Plus the Policy Limits." Id. at 3.

                                                                      Discussion

            Plaintiff has the burden of establishing subject-matter jurisdiction in this Court. See
     Reynolds v. Army & Air Force Exch. Serv. , 846 F .2d 7 46, 7 48 (Fed. Cir. I 988). The Court must
     dismiss the action if it finds subject-matter jurisdiction to be lacking. Adair v. United States, 497


                    This background is derived from Plaintiffs' complaint.




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F.3d 1244, 1251 (Fed. Cir. 2007). The Court assumes all factual allegations as true, and will
construe the complaint in a manner most favorable to Plaintiff when ruling on a motion to dismiss
pursuant to Rule 12(b)(1). Pennington Seed. Inc. v. Produce Exch. No. 299, 457 F.3d 1334, 1338
(Fed. Cir.2006).

        The filings of pro se litigants are held to "'less stringent standards than formal pleadings
drafted by lawyers."' Naskar v. United States, 82 Fed. Cl.3I9,320 (2008) (quoting Haines v.
Kerner, 404 U.S. 5I9,520 (1972)). However, plq se plaintiffs still bear the burden of establishing
the Court's jurisdiction and must do so by a preponderance of the evidence. See Reynolds, 846
F.2d at 748; Tindle v. United States, 56 Fed. Cl.337,341 (2003).

       The Tucker Act provides that this Court:

       shall have jurisdiction to render judgment upon any claim against the United States
       founded either upon the Constitution, or any Act of Congress or any regulation of
       an executive department, or upon any express or implied contract with the United
       States, or for liquidated or unliquidated damages in cases not sounding in tort.

28 u.S.c. $ 1ae1(a)(1) (2012).

       The Tucker Act is not money-mandating, but rather is ajurisdictional statute. United States
v. Testan, 424 U.S. 392, 398 (1976). To establish jurisdiction, a plaintiff must seek money
damages under a source of substantive law. "[T]he claimant must demonstrate that the source of
                               ocan
substantive law he relies upon      fairly be interpreted as mandating compensation by the Federal
Govemment for the damages sustained."' United States v. Mitchell, 463 U.S. 206,216-17 (1983)
(quoting Testan, 424 U.S. at 400); see Jan's Helicopter Serv., Inc. v. Fed. Aviation Admin., 525
F.3d 1299,1306 (Fed. Cir. 2008) ("[A] plaintiff must identifu a separate source of substantive law
that creates the right to money damages." (internal citation and quotation marks omitted)).

       Plaintiffs' default judgment was granted by a state court against a private company. The
only proper defendant in this Court is the United States. United States v. Sherwood, 312 U.S. 584,
588 (1941); Berdick v. United States, 612F .2d 533, 536 (Ct. Cl. 1979). Because Plaintiffs allege
claims against parties other than the United States, this Court lacks jurisdiction to entertain those
claims. Nor does this Court have jurisdiction to review decisions rendered by state courts. See
D.C. Court of Appeals v. Feldman, 460 U.S. 462,482 (1983); Landers v. United States, 39 Fed.
Cl. 297,30I (1997). To the extent that Plaintiffs allege claims of theft or fraud, this Court may
not entertain such claims as this Court lacks jurisdiction over claims sounding in tort. fuck's
Mushroom Serv.. Inc. v. United States, 521F.3d 1338, 1343 (Fed. Cir. 2008).

        In their response to Defendant's motion to dismiss, Plaintiffs appear to invoke 28 U.S.C. $
1292, and to allege violations of the First and Fourteenth Amendments to the Constitution, but
these authorities do not grant jurisdiction to this Court. Section 1292 of Title 28, entitled
Interlocutory Decision, governs appeals of interlocutory orders and does not grant jurisdiction to
this Qourt. 28 U.S.C. S 1292 (2012). This Court does not hqve jurisdiction over Plaintiffs' First
and Fourteenth Amendment claims, as these provisions are not money-mandating. LeBlanc v.
United States, 50 F.3d 1025,1028 (Fed. Cir. 1995); Hernandez v. United States, 93 Fed. Cl. 193,
le8 (2010).
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                                  Conclusion

Defendant's motion to dismiss is GRANTED. The Clerk is directed to dismiss this action.




                                                     LLEN COSTER WILLIAMIS
